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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           4:02CR3165-1
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )           MEMORANDUM
                                               )           AND ORDER
VICENTE BELTRAN,                               )
                                               )
                      Defendant.               )

      Russ Bowie will shortly take his oath as a Douglas County, Nebraska District Judge.
Accordingly, Mr. Bowie has moved to withdraw. With these facts in mind,

        IT IS ORDERED that (1) Russ Bowie is granted leave to withdraw as counsel and his
withdrawal is effective immediately; (2) Theresa M. Siglar is appointed as counsel for
Vicente Beltran; (3) the Federal Public Defender shall provide Ms. Siglar with a CJA
voucher; (4) Ms. Siglar shall immediately file an entry of appearance; (5) within 10 days
after the entry of this order, if Ms. Siglar desires a change in any schedules or deadlines, she
shall file a motion requesting such change; and (6) my chambers shall provide a copy of this
memorandum and order to Mr. Bowie and to Ms. Siglar and to the Federal Public Defender.

       March 31, 2006.                             BY THE COURT:

                                                   s/ Richard G. Kopf
                                                   United States District Judge
